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13                        UNITED STATES DISTRICT COURT
14                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                             WESTERN DIVISON
                                      ) No. CR 20-00612-ODW
16   UNITED STATES OF AMERICA,        )
                                      ) [PROPOSED] ORDER AUTHORIZING
17             Plaintiff,             ) INTERLOCUTORY SALE OF REAL
                                      ) PROPERTY AND SUBSTITUTION OF
18                  v.                ) RES
                                      )
19   MARK HANDEL,                     )
                                      )
20             Defendant.             )
                                      )
21
22         For good cause appearing, and upon the parties’ stipulation
23   for entry of an order, it is hereby ORDERED that the real
24   property located at the intersection of Comcast Place and North
25   Canyons Parkway, Livermore, California, Assessor Parcel Number
26   905-0010-006 (the “subject real property”), described more
27   particularly as Parcel 3, Parcel Map 5112, filed September 29,
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1    1987, in Book 172, Pages 11 through 14, inclusive, of Maps,
2    Alameda County Records, be sold, and the proceeds thereof
3    distributed, according to the terms of the parties’ stipulation,
4    filed as Document number __.       The net proceeds received by the
5    Government will be the substitute res for the subject real
6    property.
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           The Court shall retain jurisdiction over the subject real
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     property to effectuate the terms of the sale and resolve any
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     issues or disputes that may arise regarding the interlocutory
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     sale of the property.
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